Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 1 of 14




                  Exhibit C-1
            Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 2 of 14


                                    Go Pro Construction, LLC
                                                v.
                                   Valsts Nekustamie Ipasumi
                                   Case No. 1:22‐cv‐01643‐RCL
                                            EXHIBIT 1
                     AFFIDAVIT OF ATTORNEYS' FEES AND VERIFIED STATEMENT

                                 Relevant
  Invoice No.   Invoice Date      Hours        Rate     Applicable Amount Fees        Total:
TGSLV31524          08/21/23            2.3    140.00 €             315.00 €   0.00 €     315.00 €
TGSLV31657          09/15/23              5    140.00 €             700.00 €   0.00 €     700.00 €
TGSLV31866          11/01/23            3.6    140.00 €             504.00 €   0.00 €     504.00 €
TGSLV32139          12/18/23            1.5    140.00 €             210.00 €   0.00 €     210.00 €
TGSLV32196          12/28/23            1.5    140.00 €             210.00 €   0.00 €     210.00 €
TGSLV40218          02/09/24            4.4    140.00 €             616.00 €   0.00 €     616.00 €

                               APPLICABLE LEGAL FEES THROUGH 2/9/2024:                 2,555.00 €
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 3 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 4 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 5 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 6 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 7 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 8 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 9 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 10 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 11 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 12 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 13 of 14
Case 1:22-cv-01643-RCL Document 34-6 Filed 02/09/24 Page 14 of 14
